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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,
                                                            CRIMINAL NUMBER:
               v.
                                                            1:18-cr-00032-2-DLF
CONCORD MANAGEMENT AND
CONSULTING LLC,                                            FILED UNDER SEAL

       Defendant.


         DEFENDANT CONCORD MANAGEMENT AND CONSULTING LLC’S
            MOTION FOR LEAVE TO FILE PARTIALLY UNDER SEAL

       Defendant Concord Management and Consulting LLC (“Defendant” or “Concord”),

through counsel, respectfully moves for leave of Court to file partially under seal its Opposition

to the Government’s Second Renewed Motion for Early Return Trial Subpoena

(Concord’s “Opposition”). See ECF 329. In support of this motion, Concord states as follows:

       Portions of the Opposition refer to information contained in the discovery materials the

government has designated as sensitive pursuant to the Further Revised Protective Order, see

ECF 302, and redacted portions of the government’s Motion, see ECF 325. Accordingly,

Concord seeks to redact these references from the publicly filed version of its Opposition and file

an unredacted version of the Opposition under seal.

       The Court has the inherent power to seal court filings when appropriate. United States v.

Hubbard, 650 F.2d 293, 315-16 (D.C. Cir. 1980) (citing Nixon v. Warner Communications, Inc.,

435 U.S. 589, 598 (1978)). Such sealing is within the discretion of the Court. See Nixon, 435

U.S. at 598 (common-law right to inspect and copy judicial records is not absolute, and the

decision whether to permit access is best left to the sound discretion of the trial court in the light

of the relevant facts and circumstances of the particular case).
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       A proposed order is filed herewith.

Dated: February 3, 2020                          Respectfully submitted,

                                                 CONCORD MANAGEMENT AND
                                                 CONSULTING LLC

                                             By: /s/ Eric A. Dubelier
                                                 Eric A. Dubelier (D.C. Bar No. 419412)
                                                 Katherine J. Seikaly (D.C. Bar No. 498641)
                                                 REED SMITH LLP
                                                 1301 K Street, N.W.
                                                 Suite 1000 - East Tower
                                                 Washington, DC 20005-3373
                                                 202.414.9200 (phone)
                                                 202.414.9299 (fax)
                                                 edubelier@reedsmith.com
                                                 kseikaly@reedsmith.com
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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 3, 2020, I caused a true and correct copy of the

foregoing Motion for Leave to File Partially Under Seal to be filed under seal via CM/ECF and

transmitted to the following counsel of record via electronic mail:


Jonathan Kravis
Luke Jones
Peter Lallas
U.S. ATTORNEY’S OFFICE FOR THE
DISTRICT OF COLUMBIA
555 Fourth Street, NW
Washington, DC 20530
jonathan.kravis3@usdoj.gov
luke.jones@usdoj.gov
peter.lallas@usdoj.gov

Jason B.A. McCullough
Heather N. Alpino
U.S. DEPARTMENT OF JUSTICE
National Security Division
950 Pennsylvania Avenue, NW
Washington, DC 20530
jason.mccullough@usdoj.gov
heather.alpino@usdoj.gov




                                          By:_/s/ Katherine J. Seikaly _______________
                                             Katherine J. Seikaly (D.C. Bar No. 498641)
                                             REED SMITH LLP
                                             1301 K Street, N.W.
                                             Suite 1000 – East Tower
                                             Washington, DC 20005-3373
                                             202.414.9200 (phone)
                                             202.414.9299 (fax)
                                             kseikaly@reedsmith.com
